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                                           July 10, 2018

ELECTRONICALLY FILED

The Honorable Michael A. Hammer
Magistrate Judge
United States District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

        Re:    Pharmacia Corporation v Arch Specialty Insurance Company, et al.
               Civil Action No. 18-cv-510 (ES) (MAH)

Dear Judge Hammer:

        Pursuant to paragraph 15 of the Pretrial Scheduling Order (Dkt. No. 56), defendants Arch
Specialty Insurance Company and Twin City Fire Insurance Company submit this reply letter
brief in further support of their request for the production of all settlement agreements between
Pfizer and the insurance companies that issued the Underlying Insurance and that describe any
payment and/or release under the Underlying Insurance in connection with the Garber Action.
This letter incorporates and will not repeat the background provided in the insurers’ initial letter
brief and will utilize the various terms defined therein.

         The insurers have made a particularized showing that they have a strong need for the
underlying settlement agreements and that they cannot otherwise gain the information needed to
establish two defenses that have been asserted in this action. In response, Pfizer argues that it
has already provided Arch and Twin City with proof that the Underlying Insurance has been
exhausted by payments for the Garber Action and that the additional provision in the Twin City
Policy requiring that the underlying insurers duly admit their liability should not be enforced by
its clear terms. Neither of these arguments is sufficient to defeat the insurers’ right to discovery
under Rule 26 and the settlement agreements must be produced pursuant to the terms of the
Confidentiality Agreement entered by this Court.

I.      Pfizer Has Not Produced Evidence That The Underlying Policies Were Exhausted
        By Payments Made Solely In Connection With The Garber Action

         Notably, both the Arch and Twin City Policies require that the Underlying Insurance be
exhausted by payments made under those policies. That is, if the underlying settlement
agreements indicate that any of the underlying insurers received releases under policies other
than the Underlying Insurance as partial consideration for the payments made in connection with
the Garber Action, it will raise an issue as to whether the payments made by those insurers must
be allocated among multiple policies and whether the Underlying Insurance has been properly
exhausted. The relevance of this issue is apparent from JP Morgan Chase & Co. v. Indian
Harbor Ins. Co., 947 N.Y.S.2d 17 (2d Dep’t 2012), cited by Arch and Twin City in their initial
letter brief, which involved this precise issue under substantively identical policy language. It



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also bears noting that Pfizer has remained silent and not taken issue with the statement in Arch
and Twin City’s initial letter brief (p. 5) that they have reason to believe that one or more of the
settlement agreements at issue here granted releases under other policies apart from the
Underlying Insurance.

        Pfizer tries to skirt this issue by arguing that it has produced documents establishing that
the Underlying Insurance has been exhausted by payments made under those policies for the
Garber Action. But the content of these documents clearly indicates otherwise. While the
records pertaining to the primary policy and the 2nd and 3rd layer excess policies do show that
those insurers made payments for “Garber,” they provide no insight into the key question of
whether the insurers may have also received releases in connection with other policies or other
claims as consideration for the payments made for the Garber Action. Even more importantly,
the payment records for the 1st, 4th, 5th, and 6th layer excess policies contain absolutely no
references to the Garber Action. The limited payment documentation submitted by Pfizer
therefore does not come close to establishing that the Underlying Insurance has been properly
exhausted.1

         Pfizer also tries to side-step the exhaustion issue by arguing that New Jersey law does not
require that the Underlying Insurance be exhausted so long as the total loss incurred by Pfizer
exceeds the limits of the Underlying Insurance. But Pfizer has previously argued in response to
Arch’s motion to dismiss that the question of whether New York or New Jersey law applies here
is a fact intensive issue that cannot be resolved at this stage. See Dkt. No. 45 at 15. The choice
of law issue is not before the Court at this time and Pfizer’s opportunistic contradiction of its
prior position should be ignored.

II.     Production Of The Settlement Agreements Is Required To Determine Whether The
        Underlying Insurers Duly Admitted Liability

         The plain language in the Twin City Policy states that the underlying insurers must duly
admit liability and pay the full amount of their respective liability. These are two separate
requirements under the Twin City Policy, such that it is not enough for Pfizer to establish that the
Underlying Insurance has been exhausted. JP Morgan Chase addressed a similar “admit
liability” requirement, demonstrating why Twin City must be afforded access to the settlement
agreements here. Pfizer attempts to distinguish JP Morgan Chase by arguing that the decision
applies Illinois law and has not been followed by any other court. However, the Court need not
determine at this stage whether JP Morgan Chase was correctly decided. The ultimate question
of whether the Underlying Insurance at issue here has been properly exhausted will be decided
by the Court at the summary judgment stage after discovery has been completed. At this stage,
the only question is whether the settlement agreements are relevant to Twin City’s defense for
discovery purposes.



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 The cases cited by Pfizer on page 3 of its letter brief for the proposition that payment records can
sometimes be relied upon to establish exhaustion did not involve situations in which an excess insurer
was fairly challenging whether the underlying insurers may have received consideration under other
policies and therefore are not relevant here.
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III.    The Confidentiality Issues Raised By Pfizer Have No Merit

        The various confidentiality considerations raised by Pfizer are simply smokescreens and
have no bearing here. For instance, the Ford Motor and Merck decisions cited by Pfizer (p. 2)
involve attempts to obtain documents that reflect confidential settlement negotiations between
the parties. Similarly, the decisions Pfizer cites relating to Federal Rule of Evidence 408 (p. 5)
involve attempts to use settlement agreements to establish or refute the liability of one of the
parties to the agreements. None of these considerations apply here, where Arch and Twin City
are not concerned with the substance of settlement negotiations but rather seek the production of
the final agreements to determine whether their respective policies have been triggered – not as
evidence that Pfizer is liable or that coverage does not exist under the Underlying Insurance.

         In addition, Pfizer has not identified any legitimate prejudice that might flow from the
production of the settlement agreements. The fact of the agreements and the amounts paid
thereunder could conceivably be confidential but Pfizer had no hesitation in announcing these
details in its coverage complaint. If the settlement agreements show that the Underlying
Insurance has been exhausted, as Pfizer contends, then the production of those agreements will
not give Arch and Twin City an unfair advantage in future settlement negotiations. In fact, if the
underlying insurers did pay their full policy limits, Arch and Twin City could only gain an
advantage if the underlying insurers also obtained some other benefit (e.g., release of other
claims or policies), which Pfizer appears to deny. Finally, the Confidentiality Order entered by
the Court (Dkt. No. 55) expressly permits Pfizer to designate the settlement agreements as
documents that are for “Attorneys’ Eyes Only” and that cannot be produced directly to Arch and
Twin City. This limitation more than suffices to satisfy any legitimate confidentiality concerns.2

IV.     Conclusion

        For the reasons stated herein and in their initial letter brief, Arch and Twin City
respectfully request that the Court order the production of the settlement agreements at issue
pursuant to the terms and conditions of the existing Confidentiality Order.


                                                        Sincerely,

                                                         /s/Andrew Hamelsky
                                                        WHITE & WILLIAMS, LLP
                                                        Andrew I. Hamelsky
                                                        Erica Kerstein (pro hac vice)

                                                        Counsel for Defendant
                                                        Arch Specialty Insurance Company

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  Importantly, the issues raised herein with respect to the settlement agreements will not impact the
substantive scope of the releases granted in connection with the Underlying Insurance and will instead
only impact Pfizer’s ability to trigger coverage under the Arch and Twin City policies. This may explain
why six of the seven underlying insurers have not expressed an interest in this issue and no underlying
insurer has identified any specific prejudice that will flow from the requested production.
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                                          /s/Marianne May
                                         CLYDE & CO US LLP
                                         Marianne May
                                         Timothy Sheehan
                                         Douglas M. Mangel (pro hac vice)
                                         Alexander R. Karam (pro hac vice)

                                         Counsel for Defendant
                                         Twin City Fire Insurance Company




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